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                               Exhibit 89



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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                                                                                           89-4566
                                      UNITED         STATES     COURT   OF APPEALS
                                               FOR     THE    FIFTH   CIRCUIT


                                                        NO.     89-4566



THE      STATE      OF      LOUISIANA,


                                                                        Petitioner,

                    V.




THE      UNITED          STATES       DEPARTMENT
OF    HEALTH        AND      HUMAN        SERVICES,


                                                                        Respondent.



                                  Appeal      from    The   Final      Decision      of
                                  the    Secretary       of   Health      and   Human
                                  Services       Disapproving          Louisiana
                                  State     Plan    Amendment        No.   87-33
                                                       HHS   #88-11



                                               BRIEF      FOR     RESPONDENT




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                                                              Eastern       District      of Louisiana


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                                                                                            JAN 1 6 1990
United       States          Department      of
   Health       and        Human    Services
                                                                                  GILBERT. F. GANUCHEAU.
                                                                                                        ,-_    CLERK
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                                    UNITED         STATES     COURT       OF   APPEALS
                                             FOR     THE    FIFTH       CIRCUIT


                                                      NO.     89-4566



THE      STATE      OF     LOUISIANA,


                                                                      Petitioner,

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OF    HEALTH       AND      HUMAN       SERVICES,


                                                                      Respondent.



                             Appeal          from     The     Final      Decision        of
                             the   Secretary       of Health      and   Human
                             Services      Disapproving        Louisiana
                             State    Plan    Amendment      No.    87-33
                                                HHS   #88-11



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                                                            Eastern        District      of  Louisiana


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         Case 1:01-cv-12257-PBS Document 6528-90 Filed 09/22/09 Page 4 of 53

                             STATEMENT           REGARDING           ORAL       ARGUMENT


         The     Medicaid        program         and    the       drug      reimbursement             regulations


promulgated            thereunder          are    extremely              complex.          In   addition,       the

issues         and    policies      involved           in    this        case    have      national


significance.               Therefore,           in    the       opinion        of   counsel,         oral

argument         is    warranted.




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          STATE    PLAN                 AMENDMENT           NO.    87-33    IS REASONABLE        AND
          CONSISTENT                    WITH   THE         MEDICAID      STATUTE     AND   REGULATIONS.                                .       20


                     I.            Standard               of   Review•              .                                                          2O


                     II.        The   Administrator                        Properly      Found    That    Use    Of  The
                                Published      Average                     Wholesale      Price     (AWP)     Is Not    A
                                Reasonable       "Best                    Estimate"      Of   The  Price      Generally
                                Paid    By  Pharmacies                       For   Prescription        Drugs•             21

                                A•              The   Weight            of        Evidence            Demonstrates             That    AWP
                                                Significantly                     Overstates             The    Prices         That
                                                Providers           Pay           for   Drug          Products•                                22

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                                                Policy     Against      Use   Of   Published    AWP    Under
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                  Co    The Secretary     Properly      Exercised      His
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                        Methods    That  Have   Been    Shown    To Be
                        Inaccurate.                        .        •              30



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                       MISCELLANEOUS


In     re:   The   Disapproval      of    Louisiana          State   Plan
       Amendment      No.   87-33,    No.    88-11        (HCFA
       Administrator        June   9,   1989)       .                          •   PASSIM


Fed.      R.   App.   P.   15   .                                                      .42




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                                     UNITED STATES COURTOF APPEALS
                                          FOR THE FIFTH CIRCUIT

                                                           NO. 89-4566


THE STATE OF LOUISIANA,
                                                                             Petitioner,


                    V.




THE      UNITED          STATES       DEPARTMENT
OF    HEALTH        AND      HUMAN         SERVICES,

                                                                             Respondent.



                                  Appeal      from    The   Final    Decision       of
                                  the    Secretary        of Health     and    Human
                                  Services       Disapproving        Louisiana
                                  State     Plan    Amendment       No.   87-33
                                                       HHS   #88-11



                                                 BRIEF        FOR      RESPONDENT




                                           STATEMENT              OF    JURISDICTION


          The     statutory              basis        of    the        jurisdiction              of    this       Court         is     42


U.S.C.          §1316(a)          (3).      That         statute            provides       for        review       by     the


united         States        Courts         of       Appeals           of    a    final    determination                  of     the

Secretary           disapproving                 a    state         plan         for   failure         to      comply      with


the      requirements                for    federal            approval.
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                                                     STATEMENT              OF    ISSUES


          Whether              the    Administrator                   properly               disapproved                      Louisiana


State       Plan         Amendment             87-33,            which        provides                for         the        use      of       average


wholesale              prices          (AWPs)         reported              in    national                  drug         pricing


compendia              as      the    State's             best      estimate                of     the       prices                that


pharmacies               are     paying          for       prescription                     drugs,           when            the      great


weight         of      evidence            shows          that      published                AWPs           significantly


overstate              the      prices         paid        by      pharmacies.

                                                 STATEMENT               OF      THE        CASE


I.        Course             of  Proceedings                 and      Disposition                     in     Administrative
          Hearing             Below.


          This         case      presents             a    challenge              by        the       State             of    Louisiana


("the       State")             to    a    final          determination                     of     the       Secretary                    of    Health

and      Human         Services            ("the          Secretary")                 disapproving                       an        amendment               to


the      State's            Medicaid           state         plan        that         was        submitted                   to     bring        the


state       plan         into        compliance              with        certain             federal               requirements


governing              drug      reimbursement.                       See        42     U.S.C.              §1316(a)               (3).         The


Secretary's                  final        decision           was      rendered               by       the     Administrator                           of


the      Health          Care        Financing             Administration                         ("HCFA")               after            a

reconsideration                      hearing          held         pursuant             to       42     U.S.C.               §1316(a)           (2). I


          Louisiana              State         Plan        Amendment              No.        87-33           was         disapproved                   by


HCFA      by      a    notice         dated        May       12,      1988.             Administrative                            Record,             p.




          i The   Secretary                   has      delegated               authority                   for      carrying      out                 the
federal       duties     under                 the      Medicaid              statute              to       the     Administrator                       of
HCFA,       an        agency         within        HHS.
        Case 1:01-cv-12257-PBS Document 6528-90 Filed 09/22/09 Page 13 of 53



1142 ("A.R.               1142"). 2              Louisiana                  filed        a request                 for

reconsideration                      of the          disapproval                    on July            i,     1988.             A.R.          1145.

On August           4,     1988, the                 Administrator                      published                  a notice              in the

Federal          Reqister             announcing                    the     date        of     an      administrative                         hearing


to    reconsider               the     disapproval                        decision,            the          issues          presented,                    and


the      timetable             for     participation                        by      interested                parties.                  A.R.


1613-14.            The        State          and        three        pharmaceutical                         associations


participated               in        the      reconsideration                          hearing.               A.R.          5-6.          The


hearing          officer             issued          a       decision            on     December              29,        1988

recommending               that        the        state             plan      amendment                be     disapproved.                       A.R.


2.       Exceptions             to     the        recommended                    decision              were          filed         by     the


State      and      the        pharmaceutical                        associations.                         A.R.       2.        On      June          9,


1989,      the      HCFA        Administrator                        issued            his      final         decision               upholding


disapproval               of    the        state             plan         amendment.                  In     re:      The       Disapproval

of    Louisiana            State           Plan          Amendment               No.         87-33,          No.      88-11             (HCFA


Administrator                  June        9,     1989),             A.R.        2-9.          The         State         then        filed            a


petition           for     review           by       this           Court        pursuant              to     42      U.S.C.


§1316      (a) (3).

II.       Statement             of     Facts.


          A.        Statutory               and          Requlatory                 Backqround.


          The     Medicaid             program,                provided                for     under          Title          XIX         of     the


social          Security          Act,          is       a    cooperative                    federal-state                   program             to


furnish          medical          assistance                   to     eligible                low-income                 individuals.




          2 All      references                  will          be     to     the       original               record          on        review.
However,      for  the   Court's                        convenience,      the                       Secretary                has        provided
an   appendix     containing                         exerpts     of essential                          materials                   in    the
record.
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42      U.S.C.       §1396            et      seq.          Se__eeAtkins               v.        Rivera,            U.S.               __,           106

S.Ct.       2456,          2458            (1986);            Schweiker               v.     Hogan,            457      U.S.          569,           571


 (1982);          Harris           v.       McRae,            448     U.S.        297,           301         (1980).            The        program


is      jointly           financed                by    the         federal           and        state         governments                   and       is


administered                 by       the         states.              I_dd.      While           the        Medicaid            program                   is


voluntary,                states            which          choose          to     participate                    must         submit            a


"state           plan"       that           fulfills             the       requirements                       imposed           by     the

Medicaid            statute             and         other        requirements                     imposed            by       the      Secretary.


42    U.S.C.         §1396a.                  See       Schweiker                v.    Gray         Panthers,                 453      U.S.           34,


36-37        (1981);             Harris            v.      McRae,          448        U.S.        at     301.           See         also        42


C.F.R.           §430.0          et     seq.           (1988).             The        state         plan        must        be        approved                  by

the      Secretary.                   42     U.S.C.            §1316(a)           (i);        42        C.F.R.          §430.10.                    Upon


approval           of      the        state            plan,         the      state          becomes             entitled              to


reimbursement                    by     the        federal            government,                   termed             "federal


financial            participation"                           (or     "FFP"),              for      a    portion            of       its


payments           to      providers                   furnishing                services               to     Medicaid              recipients.


42    U.S.C.         §1396b(a)                ;    42      C.F.R.          §430.30.


          The      Secretary                  is       charged          with          responsibility                       to    ensure               that


state       plans          (including                   plan         amendments               and        administrative


practices            under            the         plans)         originally                  meet        and        continue               to       meet


the      federal           requirements.                         42     U.S.C.             §§1316(a)             (i),       1396a,              1396c;


42    C.F.R.         §430.15.                     States         have        considerable                      discretion                  to       design

and      operate           their            individual                programs,               but        they        must        maintain


their       plans          in     compliance                   with        the        federal            requirements.                          See


Lewis      v.      Heqstrom,                 767        F.2d         1371,        1373           (9th        Cir.       1985);          District


of    Columbia             Podiatry                Societv            v.     District               of       Columbia,               407        F.
         Case 1:01-cv-12257-PBS Document 6528-90 Filed 09/22/09 Page 15 of 53


Supp.       1259,            1264 (D.D.C.                       1975).              This        rule           fully         applies           in the

context          of Medicaid                        plan        provisions                 providing                   for     prescription
drug reimbursement.                             _        If,      on reviewing                   a state                plan       amendment,

the      Secretary                 determines                   that         the       amendment does not meet the

federal          requirements,                           he issues                 a disapproval.                        42 C.F.R.

§§430.15(c).                       A state               may seek administrative                                       and judicial                 review


of     these          disapproval                     determinations.                           Se___ee
                                                                                                      42          U.S.C.             §1316(a)          (2),


(c);      42     C.F.R.              §§430.18,                  430.60            et    seq.


          State            plans          for         implementing                     Medicaid                must,         among       other


things,          "provide                 such           methods             and       procedures                 relating              to   the


utilization                  of,         and      payment              for,         care        and           services             available


under      the         plan          .               as        may    be      necessary                   .        . to        assure        that


payments             are        consistent                     with     efficiency,                       economy,             and      quality            of


care."           42        U.S.C.              §1396a(a)              (30)    (A).          If        a       state      provides


prescription                    drug           coverage,               its     plan         must              provide          for      payments

that      are         in     accordance                    with        that         standard.                    See     Arkansas


Pharmacists                  Ass'n,             627        F.2d        at     869;         Pennsylvania                      Pharmaceutical


Ass'n,          542        F.    Supp.            at       1353.            See        National                Ass'n         of      chain         Druq


Stores,          Inc.           v.       Bowen,            [1989-2            Transfer             Binder]               Medicare              &


Medicaid             Guide           (CCH)           _     37,871,            at       20,099             (April         12,         1989)         (Copy


in     Respondent's                      Appendix).                   To      implement                   this        requirement,                  the




               See         Arkansas              Pharmacists                  Ass'n          v.       Harris,                627     F.2d       867,
869    (8th    cir.    1980);     Pennsylvania          Pharmaceutical           Ass'n     v.  Dept.
of   Public     Welfare,       542    F.   Supp.    1349,      1353    (W.D.     Pa.    1982);
Pharmacist        Political       Action      Committee       of Maryland           (PHARMPAC)      v.
Harris,      502    F.  Supp.      1235,    1243     (D. Md.      1980);     American       Medical
Ass'n     v.   Mathews,       429   F.   Supp.     1179,     1194    (N.D.      Ill.    1977);
Ostrow      Pharmacies,        Inc.    v.   Beal,     394    F. Supp.       22,    25   (E.D.    Pa.
1975),      aff'd    mem.,     527    F.2d    645    (3rd   Cir.     1976).
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Secretary              has,            on three           occasions,             promulgated                 regulations

governing              the         maximum amounts of state                               expenditures                     for

prescription                  drugs             that      HCFA will             recognize             in paying                 FFP to the
states.

          In 1969,                 the      Secretary             provided          that         the        upper          limit         on

state       prescription                        drug      expenditures              would be the                      lower          of "cost

as defined               by the             state         plus      a dispensing                 fee"        or "customary

charges          which             are reasonable."                        34 Fed. Reg. 1244 et                              seq.

(January              25,     1969),             codified           at     45    C.F.R.          §250.30(b)                (2)         (1970),

A.R.      1006.


          In     1975,             the     Secretary              revised          the        regulations                  to     provide


that      the         upper            limit      would        be     based        on     the       lower        of        "the         cost      of


the      drug         plus         a     dispensing            fee"        or    "the         provider's               usual            or


customary              charge             to     the      general          public."              40      Fed.        Reg.          34,516         e_tt


s_9_q.     (August            15,         1975);          codified          at     45     C.F.R.            §250.30(b)                 (2)


(1976),          A.R.         1015.              To     contain          federal          spending              on     prescription


drugs,          the      regulations                    established              specific             requirements


governing              what            states          could      determine             to     be     the       "cost           of      the


drug"       under            the        cost-plus-dispensing-fee                                limit.           I__dd., A.R.                 1012.


These       requirements                       divided         drugs        into        two      categories:                     (i)     certain


commonly          dispensed                    multiple-source                   drugs        4 and       (2)        all        other


drugs.           I d.,        A.R.         1012-15.

          For     the         multiple-source                       drug        category,             "cost"           was        defined             as


the      lower         of     either             the     maximum           allowable             cost        ("MAC")              or     the



        4 Multiple-source                               drugs  are   drugs               that         are  available                   under
different      brand    names                          or both   under     a            brand         name   and   in                generic
form.
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estimated          acquisition                 cost      ("EAC").                I d.          The MAC was the                      lowest

price      at which           a drug product                      was widely               and consistently
available          for       purchase           by pharmacists,                       as determined                     by a

Pharmaceutical                Reimbursement                   Board pursuant                      to procedures                     set

forth      at 45 C.F.R.                  § 19.5         (1986).               I d.        The EAC was defined                          as

"the     State's          closest           estimate              of the         price           generally              and

currently          paid       by providers"                   for       a drug.                I_dd. For the                 "other

drugs"         category,           comprised             of multiple-source                             drugs         not     on the

federal         MAC list           and single-source                          drugs,           the      "cost         of the         drug"

was simply            the     EAC.          I_dd. It          is     the       application                 of the            EAC limit

in the         context        of "other               drugs"         that        is       involved            in this              case.

          In 1987,           the     Secretary               further           revised            the      upper         limit
regulations.                 52 Fed. Reg. 28,648                          et seq.               (July      31,        1987),

codified         at     42    C.F.R.           §447.332             (1988),           A.R.        1057.           For        the     "other


drugs"         category,           the      final        rule        retained              the        mechanism              that      had


been      in    place        since       the      1975        final           rule        --    the      lower          of    EAC-plus-


dispensing-fee                or     customary               charges.                42    C.F.R.          §447.331(b).


However,         while        retaining               this        familiar            mechanism,                the      final         rule


made     one     significant                variation.                  The      rule          provided           that        this


upper      limit        would        now       apply         on    an     aggregate               rather          than        a     drug-


specific         basis.            I_dd.s



         s The        main      purpose          of     the        1987       final            rule     was      to     replace             the
cumbersome      MAC    system   with    a simple      formula,         under    which     HCFA
establishes        ingredient     cost   for    specified        multiple-source            drugs
at   150%   of   the   lowest   price    published        in drug       price     compendia.
42   C.F.R.    §447.332(b).        In   addition,       the     1987    rule    provided       that
this    new  upper     limit   (HCFA-established           cost      plus    state's
dispensing       fee)    would  apply    on an     aggregate         basis    rather      than    on
a prescription-by-prescription                basis.        I d.     This    upper     limit     for
certain     multiple-source        drugs     is not     involved        in   this    case.
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          B.            The Secretary's                          Policy                 With        Regard To Use Of
                        Published                 AWP      In        Determining                         The     Upper           Limit.


          HCFA's             predecessor                   in        the        administration                            of     the       Medicaid


program,             the       Social             and      Rehabilitation                                Service               (SRS),           first


adopted           EAC        as    a     specific                upper              limit           requirement                      in     1975,         in       an


effort         to      achieve              federal              savings.                     40         Fed.         Reg.       34,516            et     s_e_q.,


A.R.      1015.              In    the        proposed                 rule,              the       SRS         noted          that        most          states


defined           drug         "cost"             under          the       upper                limit           as     AWP       or       other


standard            prices             that         were         "frequently                        in        excess           of     actual


acquisition                  costs          to      the        retail               pharmacist."                          39     Fed.           Reg.      41,480


(November              27,        1974),            A.R.         1009.                  The        SRS        proposed              to     obtain


program           savings              by     requiring                   use           of    actual             acquisition                     cost         for


the      "cost"          component                  of     the        upper               limit.                I_dd.        When         several


commenters               suggested                  that        AWP        would              be         a    better           standard,                the


Secretary              responded                  that         AWP        was           not        acceptable                  because             "AWP        data

are      frequently                inflated."                        40    Fed.              Reg.            34,518          (August             15,      1975),


A.R.      1014.            While            the        increased                    audit           and         administrative                         expense


involved            in     determining                     actual               acquisition                      cost          led        the      SRS        to


modify         its       proposal                 in     the         final              rule,        the         EAC         standard              that        was


adopted          was       defined                as     "the         State's                 closest                estimate              of      the     price


generally              and        currently                paid           by        providers."                        I_dd., A.R.               1014,

1015.


          In     July          1976,          the        year         in       which               the        1975        rule        became


effective,               the       Department                   sent            a       memorandum                   to      states             enclosing


drug      pricing             data          to     assist             them              in    determining                      their        EACs.              A.R.


222.       The        memorandum                   emphasized                       that        this           pricing              data         was      being


furnished             only         "as        guide         material"                        and     that            it    was        still            "each

                                                                                    8
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State's         responsibility                to determine             estimated           acquisition                  costs

(EAC) as closely                 as feasible               to actual         acquisition                costs."           I_dd.

In December 1977,                 the     Department            sent        an action          transmittal                to

states     which         stated       that      although            the     regulations             did     not         require

states       to limit         drug cost             to actual          acquisition             cost,        "the         intent

of those         regulations             is    to have each State's                       estimate          be as close

as feasible          to the        price        generally            and currently              paid        by the

provider."           A.R.        222-23.            According          to this          transmittal,               the

Department          was "not          convinced"             that      those      states        which           continued
to reimburse             at average            wholesale            price       (AWP) had "made a real

effort     to approach             AAC [actual               acquisition             cost]."             I d.      It

suggested         that       states       might        make their            EAC's more accurate                         by

reducing         AWP by a percentage                       or by using          the       direct         prices          of
certain         manufacturers.            6     I d.       A recommendation                 that        states          reduce

AWP by a percentage                   was also             included         in draft         guidelines                 on the

drug upper          limits        that        were circulated                to states             in    1977.           A.R.
671.

         In June 1984, the                    Office        of Inspector             General            ("OIG")

published         a lengthy           report         of an audit             of pharmacy                drug purchases
in six     states,           entitled          "Changes to the Medicaid                         Prescription

Drug Program             Could     Save        Millions."              office        of    Inspector              General,


Audit     No.     06-40216,           A.R.      633-72         ("OIG        Report").           The       OIG      report


found     that      99.6      percent          of    the     3,469        pharmacy         purchases              audited




        6 The    direct   price     is the    price     at                    which     a manufacturer       with
a direct-to-retailer            distribution        system                      will     sell  a product
directly      to   a pharmacist,       bypassing       the                     wholesaler      in the    channel
of   distribution.
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were      made         at    prices           averaging                 about         15.93            percent             below         AWP,            as    a


result          of     purchase            and       trade            discounts                 that         were         routinely

available              to    purchasing                 pharmacies.                   A.R.            643.          The        report          found


that      the        availability                 of       discounts             was            not      affected               by      the

location             or     size      of     towns             where      pharmacies                     were           located,           nor           by


the      types         of    ownership                 (chain-owned                   or        independent).                         I_dd.        The


OIG      found         that,         as     of      1984,         27     states             used         AWP        primarily                 in


establishing                 their          reimbursement                      and         20    other             states         used         AWP        to


a     great      extent.              A.R.          637.          Consequently,                        the         OIG        concluded              that


"the      findings                presented             in      this      report                demonstrate                    that       the

methods          used        nationwide                 in      determining                     EAC      have           predominantly


resulted             in     drug      reimbursement                      limits             that         are        significantly


higher         than         the     prices           pharmacies                 generally                    pay        for     their          drugs."

A.R.      656.


          The        OIG     report          made          a    number          of     recommendations                            to     HCFA.


A.R.      657.            Among       other          things,             the         OIG        recommended                    that      HCFA


provide          guidance             and        work          with      State         agencies                    in     developing


alternative                 methods           for       determining                   EAC        that          would           more       closely


approximate                 the     prices           pharmacies                 pay         for        drugs.                 I_dd.     The        OIG

also      recommended                 that        HCFA          revise          the         upper            limit            regulations                 to


include          a     specific            prohibition                   on     use         of     AWP         in       establishing                  the


EAC.          I_dd.


          HCFA         generally             agreed             with      the         OIG's            findings.                  A.R.         669.

However,             in     its     comments               on     the     draft             report,                HCFA        maintained


that      it     was        premature             to       preclude             state            reliance                 on    AWP       in


determining                 EAC     until         alternative                   pricing                mechanisms                 were



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developed.                  A.R.         670.             HCFA also               stated           that          it    was not                prepared
to propose                 any changes                    in the          regulations                  until               the     Secretary              had

made a decision                         on the            report          of a Task Force                          appointed                  to review

prescription                    drug          regulations                 for       federally                funded              health

programs.                  A.R.         669.              HCFA did             agree,           though,               to explore

alternative                 data         sources             for       use in determining                              acquisition
costs,          and to advise                    states               of the         problems                with           AWP and to

suggest           alternatives.                           A.R.        670.         HCFA mentioned                           as one possible

alternative                 that         AWP might                be reduced                  by a certain                       percentage               to

reflect           purchase               discounts                not        reflected                in     Red       Book            prices.            I_dd.


HCFA       agreed           that         steps            were        needed         to       provide             additional


direction             to        states          on        establishing                   reasonable                   EAC        levels.            A.R.

671.


          Around            June         1984,         the        same        month           in      which           the        OIG      report          was


issued,          HCFA's            central             office             began          formulating                   policy             for      an

"EAC      Initiative"                    that        was         to    "focus            specifically                       on    examining               the


levels          of    reimbursement                        that        states            employ            for        prescription                  drugs


under       the       Medicaid                program."                   A.R.       1196.             In     September                   1984,         HCFA


sent      the        OIG        audit         report             to    all        state         Medicaid               agencies               to    make


them      aware            of     the     potential                   savings            that       would             result            "if      States


will      make        a     greater             effort            to      determine                more       closely               the       price


pharmacists                 pay         for     drugs            rather           than        using         AWP."                A.R.      633.


HCFA's          cover           letter          conveyed               the        OIG's         finding               --     described              at


the      time        as     "contrary                to     widely            held        beliefs"                --       that         purchase


discounts             were         "taken            by     pharmacies                   in     all        areas           of     the      states          in




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the      audit,      regardless             of population,                 by both           chain-owned             and
independently-owned                       pharmacies."              Id. _

          Meanwhile,            staff       in HCFA's regional                      office         in Region          VI

(comprising              Arkansas,          Louisiana,             New Mexico,               Oklahoma,         and Texas)

conducted          reviews          of pharmacy           purchasing                prices         in Louisiana,             New

Mexico,         Oklahoma,           and Texas which                 provided             further       evidence,            in

HCFA's opinion,                 that       AWP significantly                 overstates               prices      paid       by

providers.               A.R.      198,     1466-67.           The regional                  office     also      convened

a region-level               workgroup,             composed of HCFA regional                           office         staff
and staff          from state              Medicaid          agencies,            which       met in November

1984 and January                   1985 to examine                 the use of AWP as the                       EAC and to

develop         alternative             methods that               could     be used in arriving                       at

more accurate               estimates.              Se___ee
                                                        A.R.          1538,         1550.
          In a letter              sent     the     National          Association                of Retail

Druggists          in April            or May of         1985, the           HCFA Administrator

expressed          HCFA's view              that     use of AWP as a drug upper                              limit         was

"not      consistent            with       the     federal         requirements."                  A.R.      198.          The

Administrator               explained,             however,         that     HCFA's policy                  was to make

states       aware of alternatives                       to AWP, and not                    to mandate           any

specific          approach.             I_dd.

          On September              4, 1985,         a conference                 call      was held        between
senior       HCFA central               office       officials             and the          ten    HCFA regional

office       administrators                 to make sure that                     all     of the       regional



          7 According           to HCFA correspondence                        in         1985,     before      the   OIG's
audit      of     drug     pricing          practices,             HCFA     was         "unaware       of   the    great
discrepancy              between       published      AWPs           and     the   price           providers
generally          pay      for     drug   products."                A.R.      1535-36,            1549.

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offices       were following              the     policy        on EAC that                 had been decided                    on

by senior           HCFA management.               A.R.      1196.             Under that            policy,
"states       were to be free                 to develop           and adopt            any method of drug

pricing       that     resulted          in a more accurate                     reflection            of providers'

cost      since      no specific          methodology              developed            at the         federal         level

was mandated."                I__dd.

          On September           17,     1985, a model letter                         concerning            EAC policy
was sent          at the      direction         of HCFA central                  office         officials             to

HCFA regional            offices,         to be immediately                     transmitted             to     states.

A.R.      1197-98.         The purpose            of the        letter          was "to         clear        up

inconsistencies               or errors         in policy           that        may earlier             have been

implied       by some regional                 officials           to    states"            and "to         dispel         the

notion      that      states      were required              to adopt            any particular

methodology           to achieve          the     objective             of a more accurate                     drug

pricing       methodology."               A.R.       1197-98.            See A.R.            1192,      1552.

          The letter          expressed         HCFA's view              that,         in    light      of the         OIG

audit      findings,          "States      that       rest      solely          on AWPs can no longer                           do

so and still           claim      that     they       are applying               their        best      estimate            to

determining           prescription            drugs        costs        as required            by      [the       EAC

regulation]           unless      they     can provide              other        evidence            that      supports

a contrary           conclusion."             A.R.     1552.            In addition,             the        letter
stated      that      while      HCFA was not              mandating            any particular                 method

for     prescription           drug      reimbursement,                 each state            was expected                 to

examine       its     drug pricing            methodology               with     an eye toward

developing           methods      that     would       reflect           more accurately                    than     AWPs

the     prices       generally         paid     by pharmacists                  for     drugs.          A.R.         1197,

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1552-53.              The letter            advised          that        states          were free          to develop

alternative                 approaches           to those           recommended by HCFA if                           the

alternative                 methodology            was supported                  by documentation                   showing

that       it    accurately              reflected           provider             purchasing             patterns.            A.R.
1553.

          During            1986 and 1987,              a rulemaking                   proceeding           was conducted

to consider                 three      proposals            for     revising             the   Department's                 drug

reimbursement                  regulations.                 See 51 Fed. Reg. 29,560                             (August       19,

1986),          A.R.        1029.        One of the               options         would have eliminated                       the

EAC requirement                     altogether.        8


          In     1987,         HCFA      revised       the         upper         limit     regulations               and


decided,          ultimately,               to     retain          the     EAC     provision.               52     Fed.     Reg.


28,657,          A.R.         1066.       Two      weeks      after            these      regulations              became


effective,              the     Under       Secretary              of    the      Department             explained          to      an


officer          of     a    major      pharmaceutical                   association            that,           because       AWP


"seldom          represents             true       costs,"          an     EAC     relying          on    AWP     was


"unlikely"              to     be     accepted       without             "some         reasonable           discount."

A.R.      40.




        8 The   proposed                  rule    set   forth    three    options.                         Two   of the
options     would    have                replaced      or   revised    the     federal                      MAC   program
affecting      certain                 multiple-source          drugs,     but    they                    proposed      to
continue      unchanged        the  upper     limit    mechanism        applicable       to   the
"other     drugs'     category       -- namely,      the    lower     of EAC-plus-
dispensing-fee          or   customary      charges.        I__dd., A.R.     1032-38.       The
third    proposed       option     would    have    eliminated        both    the   federal      MAC
program     an__ddthe    EAC    limit,    by   adopting      a single       upper     limit     based
solely     on the     individual       pharmacist's         retail     charge,      with    a
special          discount     on  single    source     drugs                           of  5 or   i0       percent          "to
maintain          the   level    of savings      achievable                             under   the        EAC
requirement."                   I_dd., A.R.         1039,          1038-42.

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          C.       The Disapproval of Louisiana                            State         Plan
                   Amendment No. 87-33.
          Louisiana            State      Plan Amendment No. 87-33 was submitted                                      to

HCFA in October                 1987 to bring            the      state        plan      into     compliance           with

the    1987 revisions                  in the     upper        limit      regulations.              A.R.        4,    1083,

1096.           The amendment proposed                   to define             EAC as "the          Average

Wholesale          Price        of the        drug dispensed,"                 as reported          by the

American          Druggist            Blue Book or other                national          compendia            of drug

prices.           A.R.        1087.
          On December Ii,                 1987, the          HCFA regional             office       processing
the    amendment sent                  a letter       to the       State        requesting          additional

information              needed to complete                  review.           A.R.      1114.      The letter

requested          the        State     Medicaid        agency to             "explain          how you concluded

that      AWP is         your    best        estimate        of the       price       generally           and

currently          paid        by providers           for      drug products."                   A.R.     1115.        On

February          12,     1988,        the    State     responded          that       "[r]eviews           conducted

by the          State     Agency indicate               that      Blue Book tape                 data     is    a

reliable          indicator            of the prices            charged         by wholesalers

throughout              the    State.         A.R.    1121.        The letter             stated        that        to the

extent          some providers               received       discounts           from manufacturers                    and

wholesalers,              the    State        would     account         for     those      discounts            when

establishing              the    dispensing           fee.        I_dd.

          On May 16,            1988, the         HCFA Administrator                   informed           the State

that      its     state        plan     amendment was being                   disapproved           for        lack    of

compliance          with        the     federal       regulations.                A.R.     1142.         The
Administrator                 explained        the    basis       for     the     disapproval            as follows:


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          We believe               there      is a        preponderance                       of   evidence               that
          demonstrates                that     AWP        significantly                       overstates                 the
          price     that    pharmacy      providers         actually      pay    for    drug
          products       and,    thus,     is not      "the    price     generally       and
          currently       paid    by providers."             The    continued       use    of AWP
          results      in   significant         potential        overpayments        to
          pharmacy       providers.         Consequently,           the   proposed       state
          plan    amendment       violates       42   C.F.R.       §447.301      and    section
          1902(a)(30)         of  the    Social      Security       Act,    requiring        that
          State     payments      comply     with     efficiency,         economy,       and
          quality      of   care.


A.R.      1142.            Louisiana          then         filed            a   request             for     reconsideration                           of


the      decision,            and     the     matter            proceeded                as       set      out     above            at     pages


2--3,



          D.         The     HCFA       Administrator's                         Decision.


          The       HCFA     Administrator                     sustained               HCFA's            disapproval                 after            a


reconsideration                 hearing.                 A.R.         2-9.          In      his      decision,                the

Administrator                 found        that      "an        unmodified                  AWP      does         not     meet           the


regulatory             requirements                 of    EAC"         based           on     the        evidence             in     the


hearing          record        showing            that         AWP     significantly                       overstates                the


prices          actually        paid         by     pharmacists.                       A.R.         8.      The     Administrator


noted       that       throughout             the        reconsideration                          proceedings,                 "neither

the      State       nor     the      Intervenors                    challenged               the        conclusion                 that        AWP


overstates             the     prices         actually                paid."             I_dd.       The     Administrator

recounted            the     history          of     HCFA's            interpretation                       of     the        EAC


regulation             and     found         that,        since             1975,        HCFA        had     a     consistent


policy         to    move      states         away        from         use       of      published               AWP.          A.R.            6-7.


The     Administrator                 rejected            the         argument              by     the      State         that           the

hearing          officer        had        failed         to     take           into        account          the        cost-reducing


effect         on    drug      payments             of    Louisiana's                    Maximum            Allowable                Cost

(LMAC)         program.             A.R.      8.         The     Administrator                       pointed            out        that         the



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issue       was the             effectiveness                    of the             EAC in           approximating                       cost        for

the drugs              that      were subject                    to     it.          A.R.           8.        He noted             that         "[i]f

EAC had been set                       at a level                lower           than       AWP, the                 average
reimbursement                  would       have better                      approximated                      the        acquisition                 cost

for      those         drugs          subject        to      it."             A.R.        9.         Finally,              the

Administrator                   responded            to the             State's             concern              that        other             states'

plans       using         an     unmodified                AWP         as     the       EAC     had           been        approved              by

HCFA.           I d.      The      Administrator                      concluded                that           "the        correct


approach           to     this         apparent            inconsistency                       is        to     initiate            change               to


those       other         State         plans        rather             than         to     approve              another            plan            with


an    improper            EAC."           I_dd.

                                                    SUMMARY             OF       ARGUMENT


          The      fundamental                 issue        in        this        case         is        whether           the      Secretary

has      reasonably              determined                that,            absent          supporting                    documentation,


Louisiana's               Medicaid             program            cannot             rely       on        the        average             wholesale


prices          (AWPs)         reported             in     national               drug         pricing               compendia                 as    its


"best       estimate"              of    the        drug      prices              paid         by        pharmacies.                     The


Secretary's               position             is    clearly                reasonable                   because           the


overwhelming                  weight       of       evidence                in    the       record              shows       that


published              AWPs      significantly                    overstate                 drug          prices.                Because             the


State       of     Louisiana             has        presented                 virtually                  no     evidence            to     the


contrary,              Louisiana           State           Plan        Amendment                No.           87-33        was


disapproved.


          The      federal            Medicaid             regulations                    establish                  a    system          for


determining              the      maximum            amounts                of    state         expenditures                       for


prescription                  drugs      that        will         be        recognized                   by    the       Secretary                  in



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paying          FFP.           See 42 C.F.R.                  §447.300               et seq.           A state          cannot          claim

federal            reimbursement                 for        expenditures                  that      exceed these                 upper
limits.             One of the                federal             upper         limits        restricts             payment            for

the     ingredient                cost        of prescription                        drugs       to the         "estimated
acquisition                 cost"        (EAC),           which          is     defined          as the         state      Medicaid

agency's            "best         estimate            of the price                    generally           and currently                      paid

by providers."                        The Secretary                     has always            interpreted               the      EAC

requirement                 to require               that         states          approximate             as closely              as

feasible            the        actual         prices         paid         by pharmacists                  in     light         of the
best      available               information                concerning                  these      prices.             Moreover,              he

has always                viewed        the      use of AWP in establishing                                    the      EAC as

inconsistent                   with     the      intent            of the            Medicaid          regulations.

          Prior           to around             1984,        the         Secretary            lacked         cumulative,                well-

documented                evidence            affirmatively                     demonstrating                that       AWP was in

fact      not       an accurate                measure             of the            prices        generally            paid      by

providers.                 Because the                Medicaid                 program        is    administered                 by the
states,            state        assurances                of compliance                   with      federal            requirements

are presumed valid                           absent         clear          indications              to the          contrary.

Consequently,                   in     the      absence            of      firm       evidence          to      support          his


position,             the       Secretary             attempted                 to    move       states         away      from         use     of


AWP     through            a    strategy             of     technical                assistance           and       encouragement


that      was       largely            unsuccessful.


          In       June        1984,         these        circumstances                   changed         dramatically                  when


the     Secretary's                  Office          of     the         Inspector            General         issued        a     report


based         on    an     extensive             audit            of     pharmacy            purchasing             practices.


The     OIG        audit        provided,             for         the     first          time,      carefully             documented



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evidence             that     average      wholesale          prices       significantly                 overstate

the     prices         that     pharmacies            actually        pay for        drugs.            The OIG found

that      virtually            all     states       relied         on AWP primarily                  or to a great

extent         in establishing               reimbursement.                As a direct                result        of this

report,         HCFA launched              a major        program        initiative             to examine             on a

state-by-state                 basis      the      price-setting          methods used by states                          in

establishing                their      EACs.        HCFA made clear              that,      in        light        of the

clear      evidence            showing       that      AWP did        not reflect           actual            drug

prices,         it     would         no longer       be acceptable             for    a state            to base its

"best      estimate"            of drug prices               on published            AWP without                providing

valid      documentation                 to support          its     position.           This        approach         was

consistent             with     the      structure        of the       Medicaid          program,             under
which      a state            may be required             to furnish         documentation                    if    HCFA

has a problem                with      a state's        representation               that       it     has complied

with     the      federal            requirements.
         The State             of Louisiana            and the        intervenors           have not

attempted            to show that           AWP is       an accurate             indicator             of drug

prices      in Louisiana.                  Instead,          they     argued      that      the        Secretary's

disapproval             is     invalid       for     other      reasons.          However,             none of these

arguments            has merit,           and the       Secretary's          reconsideration                       decision
disapproving                Louisiana       State       Plan Amendment No. 87-33                          must be

upheld.




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                                                                         ARGUMENT


           THE    DECISION      OF   THE   ADMINISTRATOR        DISAPPROVING        LOUISIANA
                  STATE    PLAN    AMENDMENT      NO.    87-33    IS REASONABLE        AND
              CONSISTENT       WITH    THE   MEDICAID      STATUTE     AND   REGULATIONS.


I.          Standard                 of      Review.


             In    this             challenge               to     a     final         administrative                         decision,                   the


standard                of     judicial               review             is    the       familiar,                  highly           deferential

standard                of     the        Administrative                       Procedure                 Act,         under          which         the


decision                must         be      upheld             unless         "arbitrary,                     capricious,                  an        abuse


of     discretion,                      or      otherwise                not     in     accordance                    with          law."             5


U.S.C.            §706(2)              (A).         See         qenerally              Citizens                to     Preserve              Overton


Park,         Inc.           v.      Volpe,           401        U.S.         402,       416           (1971);          Mercy         Hospital                   of


Laredo            v.     Heckler,                777        F.2d         1028,         1031            (5th      Cir.         1988).              Agency


rulings            of         law       concerning                 the        programs              they         execute             are        entitled


to     great            deference,                  especially                 those          involving                 the         interpretation


of     the        agency's                own       regulations.                       See        Udall          v.     Tallman,                380        U.S.


i,     16-17            (1965);              Mercy         Hospital              of     Laredo,                777      F.2d         at     1031-32;


Cieutat            v.         Bowen,          824      F.2d            348,      352         (5th        Cir.         1987).               Such


interpretations                           will        be        upheld         unless             they         are      plainly             erroneous


or     inconsistent                       with        the        regulations.                      Id.           Even        where          a     court


believes                that         an      alternative                  interpretation                        would          be     "more


appropriate,"                        it      will      not         reverse             an     agency             interpretation                           that


is     a     "permissible                     construction"                      of     the         regulation.                      Bee        Chevron


U.S.A.,            Inc.           v.      Natural               Resources              Defense                Council,          Inc.,             467       U.S.


837,        865         (1984);              Homan          &    Crimen,              Inc.        v.     Harris,              626     F.2d            1201,


1208-09                (5th       Cir.          1980),           cert.         denied,              450        U.S.      975         (1981);


Johnson's                Professional                      Nursinq             Home          v.    Weinberqer,                  490         F.2d           841,



                                                                                 2O
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844 (5th                cir.         1974).            Accordingly,                       those         challenging                    an agency

decision                interpreting                   its       own regulations                          must necessarily

shoulder                a heavy burden.                          Mercy           Hospital               of     Laredo,               777       F.2d          at


1032;            Cieutat            v.       Bowen,          824       F.2d          at     352


             The        Administrator's                       decision                 clearly            passes              muster           under


this         standard.                   As     shown         below,             the        applicable                   Medicaid


regulations                      governing             upper           limits             for     prescription                       drugs         require


that         a    State            Medicaid            agency           establish                 the         "estimated                  acquisition


cost"            of     a    drug        at     "the         agency's                best        estimate                of    the        price


generally                   and     currently                paid       by       providers."                        42    C.F.R.            §§447.301,


447.331(b).                        The       evidence            in     the          record         shows            that         published                  AWP


significantly                       overstates                the       prices              generally                paid         by      providers


and     that            alternative                  drug        pricing               methods            will           result           in      far        more


accurate                estimates               of     pharmacy               purchase              prices.                   Faced         with        a


state            plan        amendment               which          proposed                to    establish                   EAC      at      published


AWP,      the           Administrator                   properly                 ruled           that         the        state         plan        could


not     be        found            in    compliance                 with         the        Medicaid             regulations                     when         no


showing               was        made        that      AWP       was       an        accurate             indicator                  of     the        prices


generally                   paid        by    pharmacists.


II.       The   Administrator        Properly     Found    That    Use    Of   The
          Published       Average    Wholesale     Price     (AWP)     Is Not     A
          Reasonable        "Best   Estimate"     Of   The   Price     Generally                                                            Paid
          By   Pharmacies       For  Prescription       Druqs.


          The           Administrator                   acted           reasonably                  and        consistent                   with        his


authority                   in     disapproving                  Louisiana                  State        Plan            Amendment               No.         87-


33     for        failure               to    comply          with         the        upper         limit            regulations.                       Under


these            regulations,                  states            must        establish                  the      "estimated


acquisition                      cost"        (EAC)         of      certain               prescription                    drugs           that         are

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referred                to as "other                    drugs"           in 42 C.F.R.                    §447.331.                     The EAC is

used in determining                                  the maximum amounts of FFP that                                                will          be

available                 in state               expenditures                   for        those         drugs.                42      C.F.R.


§447.331(b).                        The         regulations                  define         "estimated                   acquisition                     cost"


as     the        State         Medicaid                agency's               "best        estimate                of     the         price


generally                and        currently                paid        by     providers                for        a    drug          marketed            and

sold         by     a    particular                   manufacturer                    or    labeler             in       the        package              size


of     drug         most           frequently                purchased               by     providers."                        42      C.F.R.


§447.301.                    Louisiana's                    state        plan         amendment                proposed                to    set         the


State's             EAC        at     "the           Average            Wholesale                Price         of       the      drug


reported                in     one        or     more        national               compendia."                     A.R.         8.         The


Secretary,                   through             the        Administrator                   of      HCFA,           ruled           after          a


reconsideration                           hearing            that        the        State's          use        of       published                 AWP     did


not      comply              with         the        definition                of    EAC      set        forth           in      the


regulations                    "[i]n            light        of      evidence              showing             that        AWP


significantly                       overstates                 the       price         actually                paid        by       pharmacists."


I_dd.        This        conclusion                   was      reasonable                  and      based           on     the         overwhelming


weight            of     evidence                in     the       record.


          A.             The   Weight                 of     Evidence               Demonstrates                    That         AWP
                         Significantly                       Overstates                The    Prices                That
                         Providers                   Pay     for   Drug             Products.


          The           great        weight             of     evidence               in    the      record              supports                 the

Secretary's                   position                that        AWP        significantly                     overstates                   the        prices


that      pharmacists                      are        generally               paying          for        prescription                       drugs.              In


June         1984,           the     Office             of     the       Inspector                General               issued          a    report


based         on        an    extensive                 audit           of    pharmacy             purchasing                    practices.


A.R.         633-72.                The        OIG      audit         provided,               for        the        first           time,



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carefully          documented                 evidence        that        average         wholesale           prices

overstate          the     prices             that     pharmacies              actually         pay for        drugs.

Based on a review                      of 3,469          pharmacy             purchases         in     six    states,         the

OIG report              found     that,         because        of purchase                discounts,           over      99

percent          of the         purchases             were made at prices                      averaging        about         16

percent          below AWP.               A.R.        643.     The report                also    found        that      these

purchase          discounts             were routinely                  available          to pharmacies,

regardless              of where they                 were located               or whether            they    were chain-

owned or independent.                           I_dd. HCFA conducted                      surveys           and interviews

with     wholesalers              and pharmacists                      that      corroborated            the    OIG's

finding          that     AWP is          not        a reliable           tool     for     use by a state                in

establishing              its     "best         estimate"              of what providers                    are paying.

A.R.      198,     1358-60,             1466-67,          1473.           Thus,         at the       time     that      the

State      submitted             its      state        plan    amendment,                the    Secretary            was aware

of a considerable                      body of evidence                   demonstrating                that    published

average      wholesale                 prices         overstate           the     prices        that     providers

generally          pay for             drugs. 9




       9 As a HCFA official      stated  at the administrative    hearing,
AWP has become like the "sticker         price on an automobile.       It is
the very highest      price that anyone would be expected to pay for                                                                a
drug product."      A.R. 1450.      See A.R. 1472-73. Congress evidently
recognized   the inflated      nature of AWP in the Medicare
Catastrophic    Coverage    Act,   Pub. L. No.  100-360   (1988), repealed,
Pub.    L. No.      101-234       (1989).      Congress      established        a system       that
would     have    required       prices     to be    set    in   six-month       increments
known     as payment        calculation        periods.        See   A.R.    247-49.        Drug
product      prices      paid    during     the   period     July     1 through       December      1
were    to   be   those     AWPs    that   were     in effect       on January        1 of that
year.      I_dd.    This    time    lag   between      price     setting     and    benefit
payments       would     have    served    to   reduce     AWP     by a significant          amount
given      the     current             high     inflation              rates      for     prescription               drugs.

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         In view            of this             evidence,               HCFA had ample reason,                                indeed        an

affirmative            obligation,                        to question                the    State's             findings            and

assurances            that         its         EAC methodology                       complied           with       the       upper         limit

regulations.                 Se__ee
                                 A.R.                1115.             The State's                response             provided            only

conclusory            statements                    and no documentation                              that     would
substantiate                that         AWP did            in fact            accurately                reflect            pharmacy

purchase        prices             in        Louisiana.                 A.R.         1121.            See A.R.          815,        1424-45
(indicating            that         the         state           agency         supplied               HCFA with             everything

it    had to support                     its        finding).                 In addition,                   as the

Administrator                recognized,                    throughout                the     reconsideration

proceedings,                "neither                the     State        nor the            intervenors                 challenged
the     conclusion             that            AWP overstates                    the       prices            actually          paid."
A.R.     8.      Because the                    State           failed         to show that                   AWP meets             the

regulatory            definition                    of EAC, its                plan        amendment was disapproved.

A.R.     1142.         This         action                was clearly                proper.             See Arkansas

Pharmacists            Ass'n,                627     F.2d        at     869      (A    state           plan       providing


prescription                drug         coverage               must     provide            for        payments             that     are      in


accordance            with         the         regulations);                   Pennsylvania                   Pharmaceutical


Ass'_____nn,
           542        F.     Supp.             at    1353        (same);          National              Ass'n          of    Chain         Druq


Store__ss,     [1989-2             Transfer                Binder]            Medicare            &    Medicaid             Guide       (CCH)


¶    37,871      at    20,099                (same).


         B.       The    Secretary                    Has   Followed     A Consistent
                  Policy     Against                    Use   Of  Published     AWP   Under                             The
                  Upper     Limits                   Requlations.


         The    Administrator's                            decision            properly               concluded             that     the


Department            of     HHS         has        had     a    consistent                policy            against         the     use      of

unmodified            AWP      as        a     state's           EAC.          See     A.R.           6-7.        HCFA's



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predecessor           in the         administration                of the Medicaid                 program,            the
social       and Rehabilitation                  Service           (SRS),      first       adopted         EAC as a

specific          upper     limit       requirement            in     1975,        in an effort            to achieve

federal       savings.              In the      proposed           rule,      the      SRS noted         that       most

states      defined         drug       "cost"      as AWP or other                  standard         prices         that

were "frequently                 in excess         of actual              acquisition            costs     to the

retail      pharmacist."                39 Fed. Reg. 41,480,                       A.R.    1009.         The SRS

proposed          to obtain          program       savings          by requiring            use of actual

acquisition          cost        for    the     "cost"        component            of the upper            limit.

Id.       When several              commenters          suggested           that       AWP was a better

standard,          the     Secretary          responded            that     AWP was not             acceptable

because       "AWP data             are frequently             inflated."               40 Fed. Reg.              34,518

(August       15, 1975),             A.R.     1014 (emphasis                added).         While        the

increased          audit        and administrative                  expense         of an actual

acquisition          cost        standard        led     the       SRS to modify             its     proposal,               the

EAC standard             that     was finally            adopted           required        States        to make the

"closest          estimate          of the      price      generally           and currently               paid         by

providers."              I_dd., A.R.        1014,       1015.        The clear            purpose        of the          EAC

regulation          was to have states                   estimate           provider        prices         with         as

much precision              as possible.                The objective               was the         same as set

forth      under     the        proposed        rule     --    to achieve              savings       by moving

states      away from primary                   reliance           on AWP.

          After     1975,        HCFA continued               to make clear               that      use of

unmodified          AWP as the           state's         EAC was not               contemplated            by the

regulations.               In 1976 and 1977, HCFA reminded                                states      that        it     was

each state's             responsibility                to estimate            drug prices            "as     close           as

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feasible"         to the      prices       generally            paid     by providers,                and that           a

percentage         markdown appeared                appropriate             for      AWP.       Se__ee
                                                                                                    A.R.            222-
23.       See also       A.R.      671.     In 1984,            the HCFA Administrator

concurred         with     the OIG's        audit        report         which      concluded           that        AWP

significantly             overstated        provider            purchase          prices,       and HCFA's

comments on the              report       indicated           that      action       would      be taken            to

advise      states        of the       problems         with     AWP and to make them aware of

alternatives.              A.R.      669-70.        In early            1985,      the      HCFA
Administrator             stated       in a letter            to the       National          Association             of

Retail      Druggists         that      use of AWP as a drug upper                           limit      was "not

consistent         with      the     federal       requirements."                  A.R.      198.       The

Administrator             indicated        that     HCFA's policy                 was to make states
aware of alternatives,                    but     not    to mandate              any specific           approach.

A.R.      198.     In September            1985,        an affidavit              articulating           official

HCFA policy          described          a program          initiative             that      involved
contacting         States       to urge them to adopt                     more accurate                drug

pricing      methods         in establishing               EAC, without              dictating          any

specific         method developed               at the         federal      level.           A.R.      1196-97.

That      same month,         a letter          was sent         at the      direction             of HCFA

central      office        officials        that        put     states      on notice           that,         in    light
of the      OIG audit         findings,           states        could      no longer          rely      solely           on

AWP as their          best      estimate          of pharmacy            drug prices            without

providing         evidence         to support           their        position.           A.R.        1552.         During

1986 and part             of 1987,        a rulemaking               proceeding          was conducted               in

which      one option         would       have entirely               eliminated            EAC.       51 Fed.

Reg. 29,560,          A.R.      1038-42.           In November 1987, however,

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immediately          after       HCFA revised      the         upper     limit       regulations            and

decided,      ultimately,           to retain      the         EAC provision,               the    Under
Secretary          of Department       expressed             in a letter           to the         National

Association          of Retail       Druggists         essentially            the      same position

that      had been maintained            prior     to the             rulemaking.            A.R.     40.        See

A.R.      14-15.      These policy        pronouncements                 issued       by the        Department

and by high          officials       within      the        Department           reflect      substantial
overall      consistency           concerning      the         policy      of the          EAC regulation

to move states           away from sole           reliance             on AWP.I°

          The Secretary's           disapproval             of Louisiana           State      Plan
Amendment No. 87-33 was consistent                             with     his      longstanding

interpretation           of the EAC requirement                       and did      not      represent        a

substantive          change in the        regulations.                  The position              articulated

by the      HCFA Administrator            in the            letter      disapproving              Louisiana's

state      plan     amendment was as follows:

         We believe    there is a preponderance          of evidence that
         demonstrates     that AWP significantly         overstates    the
         price that pharmacy providers          actually    pay for drug
         products    and, thus,   is not "the price generally            and
         currently    paid by providers."        The continued      use of AWP
         results   in significant     potential     overpayments     to
         pharmacy providers.        Consequently,      the proposed state
         plan amendment violates       42 C.F.R. §447.301 and section
         1902(a) (30) of the Social Security           Act, requiring      that
         State payments comply with efficiency,             economy, and
         quality   of care.


        10 Although     the Secretary   acknowledges that errors     and
inconsistencies         in policy  were implied   from statements   made by
regional      officials    in 1985, the record shows that these
statements       did not represent    official   agency policy   or the
"position      of the Department as an entity."        Se___ee
                                                             A.R. 1197; New
York     Dept.     of  Social      Services     v.   Bowen,             835    F.2d     360,    365-66
(D.C.     Cir.     1987);     cert.    denied,     __    U.S.            __,      108    S.Ct.     2820
 (1988);      Homemakers       North     Shore,    Inc.    v.           Bowen,      832    F.2d    408,          413
 (7th    cir.    1987).

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A.R.         1142.        The position                 articulated                    in this         letter             is     consistent

with         the      interpretation                 of the         regulations                    that       is    reflected                 in

the      preamble            to the          1975 regulations                         and in subsequent                         HCFA

pronouncements,                     as set          forth      just        above.              As the            disapproval

letter            indicates,           what changed over time                                was not             the      Secretary's

interpretation                  of the EAC requirement,                                 but        rather          the         weight         of

the      evidence            that      AWP overstates                     drugs         prices            and thus              is     not      a

reasonable              "best         estimate"             of acquisition                     cost.             After          1984,         the

Secretary              was aware of a widening                             base of documented                             evidence

demonstrating                  that        AWP significantly                          overstates             provider                 purchase

prices.               In light            of this         evidence,              it     became clear                     that         HCFA

could         no longer             stand         by and permit                  states            to rest          on         mere

assurances              that        AWP     was      their         "best         estimate,"                 without             requiring


them         to    provide          support          for     their         use         of    AWP      in     establishing

EAC.     n


             HCFA's      more         assertive             enforcement                 initiative                 was         fully


consistent              with        its      obligation             to     assure            that         states          are         using


"best         estimates"              and     not     pricing             methods            that         have      been         shown          to

be     inaccurate.                  Indeed,          HCFA     would          have           been      remiss             not     to      have


undertaken              such        action         once      the      Department                   became          convinced              _s       a




        11 Previously,       HCFA    had    deferred     to   states'      representations
that    AWP   was   their    "best     estimate"      primarily       because     there    was
inconclusive        evidence      that    it was     not   a reasonable        "best
estimate."         In   fact,    as the      OIG   audit   revealed,       pricing
information        that    HCFA    had    been   providing      to   states     for                                             use     in
evaluating       the    EACs    frequently        equaled    or  exceeded       AWP,                                              revealing
the   HCFA's     substantial         lack    of awareness       of the     purchase                                                 and
trade    discounts       routinely        received      by pharmacies.          See                                             A.R.     651-
52.     See   also    A.R.    222-23.


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factual          matter       that         there         was a significant                         discrepancy                    between

AWP and the               actual          purchase             prices.              Consequently,                 HCFA's

disapproval               letter          did      not        "effect         a change in existing                                law      or

policy"          or otherwise                constitute                 a substantive                   rule.           See American

Hospital          Ass'n       v.         Bowen,         834     F.2d         1037,        1045         (D.C.      Cir.            1987),


quotinq          Alcaraz           v.     Block,         746      F.2d        593,        613      (9th        Cir.         1984).              On


the    contrary,             the         letter         articulated                 the     same        view      of        the      law


that      HCFA      has     consistently                  maintained                 over        the     life          of    the        EAC


regulation           and      applied              in    light          of    the     best         available


information.                Se__eeHoman             &    Crimen,             Inc.     v.     Harris,             626        F.2d        at


1210      (letter          merely          elaborated              on        what     was        already          contained                   in


the    regulations                 and     was      consistent                with        other         agency


pronouncements).                   12




        12 The     State     and     intervenors         argue     that    the    necessity          of
notice      and    comment      rulemaking          is apparent         from    the     fact    that      the
Secretary's         own    Department         concluded        that     rulemaking         was
necessary.          State's       Brief      at   18;   Intervenors'           Brief     at    26;    A.R.
15.     They     refer     to   an    internal       agency      discussion         concerning
whether      to    adopt    a national          policy      to   require       that    EAC    be
established         as AWP      minus      a specific        percentage,          which,      the
Department         concluded,         would     have    required        notice      and    comment
rulemaking.           I_dd. But       their     version       of events        is   incomplete.            As
the    Secretary       has    stated       in a letter,          the    Department         decided        not
to   adopt     this     rulemaking         option,      and    elected       instead       to   proceed
with     "an    initiative        to    provide      states      greater       assistance          in the
determination           of an     appropriate         EAC."       A.R.     15.      Since     this
initiative         "merely      involved        the    application         of the       existinq        rules
in liqht       of   the    best    available         information,          new    rulemaking          was
not    necessary."          A.R.      15   (emphasis        added).

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           C.           The Secretary   Properly  Exercised His
                        Authority   To Assure That States Do Not
                        Establish   The Upper Limit Based On Pricing
                        Methods That Have Been Shown To Be
                        Inaccurate.

           The Administrator's                            disapproval                 of Louisiana's                  state        plan

amendment represented                              a proper          exercise             of his         authority             under
the      federal         Medicaid                statute         and regulations                    to assure               that

states          are not          establishing                 EAC based on drug pricing                                 methods

that       have been shown to overstate                                        drug prices.               The unrefuted
evidence             in the         record          demonstrates                 that         AWP is      not        a reliable

indicator            of drug             prices           and cannot             be considered                  an acceptable
EAC.        See A.R.            8.

           Under the            upper            limit      regulations,                  states         have discretion                       to

establish            their          own payment methods                          and levels,              but        only      after

they       have established                       an acceptable                  EAC against              which         payment
levels       can be measured.                            As explained                  in the       preamble            to the           1987

final       rule,        under           the      subheading              "Increased              State        Flexibility,"

the      aggregate             upper        limit          approach            gives          states      leeway           to develop

their       own payment policies,                             and they               need not          adopt         the      upper


limit       methodology                  set      forth       in    the        regulations               as    a     payment


model.          52      Fed.        Reg.         28,655,         A.R.      1064.              Instead,         to     solve


problems           of    "economy,                availability,                  or     therapeutic                efficacy,"


states       are        free        to     pay     higher          amounts             (e.g.,      published               AWP)        for


some      drugs         as     long        as     they     pay      lower            amounts       for        other        drugs         and

maintain          total         payments             within         the        aggregate           limit.             I_dd.       As


discussed            later          in     the     preamble,              it     is    precisely              this      flexibility


that      enables            each        state       to     "evolve            its      own     payment            system"         and



                                                                     3O
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its      own solutions              to    local     problems         of availability                  and

efficiency.               I_dd. at 28657,           A.R.     1066.          See State's              Brief    at 21.

However,         this      flexibility             to determine             payment levels               and methods

is     still     subject        to the           requirement         that      a state         establish             an EAC

that       represents         its        "best     estimate         of the         price     generally             and

currently          paid     by providers."                  42 C.F.R.          §447.301.

           The federal          government,               which     in the         case of Louisiana

currently          pays over             70 percent         of the      cost        of Medicaid,             has not

limited         itself      to rubber-stamping                    any "best          estimate"           of cost

that       a state        chooses         to make.          On the      contrary,            the      regulations

require         that      a state         Medicaid         agency     (i)      describe           comprehensively

its     payment methodology                      in its     state     plan;         (2) make a finding                   for

each of the              two upper         limit      categories            that     total        expenditures

will      not    exceed       the        applicable         aggregate          upper        limit;       (3) make an

assurance          to HCFA that             the     state     has made such findings;                         and (4)

maintain         and make available                   to HCFA, upon request,                         documentation

to support             such findings.               42 C.F.R.         §447.333.              See 52 Fed. Reg.

28,651,         A.R.      1060.          The documentation              that        a state          must provide

at HCFA's request                   includes        "data,        mathematical              and statistical

computations,              comparisons,             and any other              pertinent             records."           42

C.F.R.         §447.333(c).               See 52 Fed. Reg. 28,652,                         A.R.      1061 (further

discussion             of required          documentation).                  As stated            in the     preamble

to the         1987 final         rule,          although     acceptable             state        assurances

confer         a presumption              of validity         on the         State's         findings,             "if

HCFA finds             a problem          with     a State's        assurance,              HCFA can request

the     State     to provide              data     to support         its      assurance,             and,    if

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appropriate,            HCFA will          disallow        FFP or consider                  whether         the      State

ought      to be subject              to the       statute's         compliance             procedures."               I d.

         The Secretary's                 actions      in disapproving                Louisiana           State        Plan

Amendment No. 87-33                   were fully          consistent          with         this     regulatory

structure.            After     reviewing           the    state      plan     amendment,               HCFA asked

the     State    to explain              how it     had concluded             that     AWP was its                  best

estimate        of the        price       generally        and currently              paid         by providers

for   drugs.          A.R.     1115.           The State       did    no more to              support         its
position        than     to claim          that     reviews        conducted          by the          Medicaid

agency       indicated         that       AWP was a reliable                 indicator             of the      prices

charged       by wholesalers               throughout          the    State.          A.R.         1121.       The
State       offered      no substantiating                 evidence          or documentation                  to

support       this      finding.           A.R.     1121.       See A.R.         815,         1424-45. 13 In

addition,        no convincing                 evidence       was presented                at the

reconsideration               hearing          to show that          AWP accurately                 reflected

Louisiana        pharmacy          purchase         prices.          See A.R.         8.          Accordingly,

the   Secretary's             action       was proper          and consistent                with       his    role        in

enforcing        the     upper        limits       regulations.

         HCFA's disapproval                    was based on the           State's             failure         to

adequately           support       its     use of published             AWP.          It     did      not     add new

requirements            to the        regulations,            as the    State         alleges,           by

dictating        that     the      State        either     determine          actual         acquisition              cost



       13 Having received   the OIG report   and numerous other
indications     of HCFA's concern with published     AWP, and having had
a previous     state plan amendment denied over the issue,      the State
was certainly      aware of the possibility   of disapproval  if it did
not change its plan or offer      convincing   support for its position.
See A.R. 905, 1017.
                                                          32
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 based on actual               drug pricing               data       or reduce              AWP by a HCFA-

 specified           percentage.             See State's              Brief          at 18.           To the           contrary,
 the     record          shows that        the Secretary                 acted            through       established

enforcement               mechanisms         to implement                a longstanding                    and oft-
repeated           policy.          That policy               was to make states                      aware of the

unacceptability                of AWP and to recommend alternatives,                                             but     not      to

dictate           any specific            approach            for    complying              with     the     EAC

regulation.                See, _,             A.R.       198,       1196-97,              1552.        Indeed,          in this

case,       the     options         and alternatives                  open to the                  State     were

considerable.                As contemplated                   by the       regulations,                   the     State        had

the      opportunity           to provide            documentation                   to HCFA to             support         its

finding           that     AWP was a "best                estimate"             of pharmacy                purchase

prices.            42 C.F.R.         §447.333(c).                   Se___@
                                                                        52 Fed. Reg. 28,652,                             A.R.
1061.           Alternatively,             the      State       could       have determined                      its     EAC

using       its     choice       of any combination                      of price-setting                    methods that
would       accurately           reflect          the     prices         that        providers             were paying,            i_

Clearly,           HCFA did         not    rely      on any requirements                        not        already

contained           in the       regulations              or inflexibly                    "prescribe            the

regulatory           structure"            by which            the    State          might      achieve           compliance
with      the      EAC requirement.                  See Batterton                   v.    Marshall,             648     F.2d

694,      706      (D.C.     Cir.     1980).            Nor     is   this        a    case      where        a    federal


agency       has     imposed         on    states         "detailed             rules        with      mathematical


formulae"           for    calculating             EAC.         Cabals          v.    Eqqer,         690     F.2d        234,



        i_ Some    examples    of   alternatives        to published       AWP   include
AWP   minus     a percentage      markdown,      wholesaler      cost    plus    a
percentage       mark-up,    direct     prices     of manufacturers         who    sell
directly      to pharmacies,        and   any   other    methods    that    reasonably
approximate       pharmacy     purchasing       prices.

                                                               33
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239 (D.             C.    Cir.       1982).               Rather,              the       regulatory                   structure               that          the


Secretary                relied          on     is       the     one         set        forth         in        the      current


regulations.

             D.          The      State         Cannot           Use         AWP        In     Determining                     The
                         Upper    Limit     Simply                     Because               Other          Features                 In
                         Its   Plan    Constrain                       Costs.


             In    establishing                    their         "best             estimate"                of     what         providers                 are


paying,             states         are        free        to     employ              any       method            of      estimating


provider             prices          that          accurately                  reflects               the        prices              generally


paid.             However,           they          cannot             seek         exemption                from         this         requirement


by     claiming             that         other           elements              in       their         plan         will         control


program            expenditures.                         The     Administrator                        noted           that           Louisiana's


state         plan        amendment                included              some           features                "which          will         properly


constrain                Medicaid             drug        reimbursement                        costs."                A.R.           8.      In


particular,                 the      Administrator                      mentioned                   the         Louisiana                 Maximum


Allowable                Cost       (LMAC)           program.                  I_dd.         Yet,         the      Administrator


correctly                determined                that         the      State's               LMAC        program,                  although


"commendable,"                     is     not        a    substitute                    for     an        accurate              EAC         and     cannot


bring         the        State's          plan           into         compliance                with            the      specific             EAC


requirement                 set      forth           in    the         regulations.                        See        A.R.           1546         (1985


HCFA         letter         expressing                   same         view).             The        crux         of      the     matter             is


that      use        of     AWP      for       the        EAC         sets         an    artificially                     high            upper          limit

and     overstates                 the        maximum            amount             of       FFP      that         is     due         from         the


Federal            Government.                15



          15 The    intervenors                          presume     that   HCFA   wants                             the   State               to
abandon        the   LMAC    program                        and   other   cost-saving                                features                in   favor
of   an     across-the-board                             reduction      of AWP.      See                           Intervenors'                   Brief
at     23.         The      Secretary's                   position,                 however,                is     not         that    the   state
                                                                                                                                 (continued...)

                                                                             34
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         The State's                 LMAC program            does not        replace            or otherwise
affect       the        determination            of EAC.16 As stated                         by a HCFA official

at the       administrative                  hearing,         LMAC "has            nothing        to do with

estimated           acquisition              cost."          A.R.    1410.             An LMAC is         a separate

state       approach            to    controlling            prescription               drug     expenditures             and

is    not    to be confused                  with,      or utilized               as a substitute                for,     an

acceptable              EAC.         See A.R.        1089-90.           The State            must still

determine           an EAC for              every      drug     in the       "other           drugs"      category         for
which       the     State         makes payment.                I_dd. See 42 C.F.R.                    §447.331(b).            I_


      15(...continued)
should forsake      these commendable cost-saving payment methods,                                                         but
only that its plan would be "more economical      and efficient  if                                                        the
EAC did not rely upon an unmodified       AWP." A.R. 8.


        16 The LMAC program is designed to deter pharmacies                    from
dispensing      the more costly   brand-name and generic             equivalents
available     in the marketplace.      It does this by providing,                 for a
group of multiple-source        drugs that are considered             equivalent
products,     that the State will     pay no more for any of these drugs
than the median of the AWPs for the group.                A.R. 1025, 1088-90.
The LMAC program thus gives pharmacists            a powerful         economic
incentive     not to dispense multiple-source         products        that are
priced    above median AWP, inducing       them to substitute            the lower
cost generics.       The LMAC limit    may be overridden           if a physician
certifies     that a higher priced     drug is medically          necessary.          A.R.
1090.     For all drugs in the LMAC program that are priced                     below
median AWP, or made subject         to a physician       certification,           the
State not only p_a_y_AWP plus a dispensing             fee (if lower than
customary charges),      but also calculates       the    aqgreqate        upper     limit
for   the       "other          drugs"       category      using     AWP    instead              of   a    pricing
standard         that          accurately         reflects      drug     prices.                I_dd.


         i_ As      a    practical           matter,         the    level         at    which     EACs     are      set
for     drugs      in     the   LMAC   program            has       direct     bearing      on  the           amount        of
FFP     that      the     State    can  claim            from       the    Federal     Government.                 For
every     drug     in the   LMAC    program     that   is priced      below    median       AWP,
or   that     is dispensed       under    a physician      certification,          the    State
would     be    comparing    AWP    with    the  customary     charge      to   determine        the
"lower      of"    and   to calculate       the  aggregate     upper     limit.        This
would       cause        the     aggregate           upper      limit       for        the    "other      drugs"
                                                                                                       (continued...)

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          As the Administrator                                pointed           out,       the       crux      of the          issue            is

not     the         impact      of the               State's          LMAC program,                    but     "the
effectiveness                  of the            EAC for            those         drugs        subject          to      it."          A.R.           8.

Most clearly                  of all,            the        EAC is         the primary                 cost     screen              for       all

single         source          drugs            in the            "other        drugs"         category.                A.R.         8.

Single         source          drugs            comprise            at least             40 percent             of the              drugs           in

this      category.                 A.R.         923.             The record             shows that             determining                    the

EAC at published                     AWP for                these         single         source         drugs        would

overstate             the      prices            that         pharmacists                are generally                  paying             and

impair         the      effectiveness                       of the EAC as a cost                         screen.               It     is

clear         that      use of AWP for                        the     EAC results                 in    an aggregate                  upper

limit         that      would        be significantly                           higher         than      if     the        State          were

to use an EAC that                          accurately                reflected               what pharmacists                       were

paying.

          Furthermore,                    it     must be emphasized                           that      the     aggregate                 upper

limit         for     "other         drugs"               only      applies            to drugs          for      which         the           State

makes payment.                      See         42    C.F.R.          §447.331.                The      State        may       not


include          in     the     equations                   for     the        upper      limit         those        drugs           for


which      the        State         could            have      made        payment,            but     did      not.           The        State


has     not      shown        that          it       is     actually            paying         for     those         drugs           in       the


LMAC      program            that         are        priced         over        the      median        AWP.          Indeed,              it


would      be        quite      astounding                    if    pharmacists                were      widely          dispensing


these      high-cost                drugs            knowing          that       the      State        will       pay       only          a




          1_(...continued)
category      to         be  higher    than                    the   level             that       would    properly      result
if the     State          used    a pricing                      standard              that       accurately       reflected
drug    prices.

                                                                          36
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portion         of the pharmacist's                     drug    cost.             The aggregate         upper
limits         as set      forth        in the        regulations             are not        designed       to

recognize          the    money saved by the                    State         by not        making     payments              for

high-cost          multiple-source                 drugs.           While         HCFA encourages           states                to

target         their     payments         to less          expensive              multiple-source           drugs            in

the      "other        drugs"      category           by means of payment mechanisms                             like

the      124ACprogram,             states        that     do so are not                exempted        from      the
obligation             under      the    regulations            to use an acceptable                    EAC.          It          is

the      propriety        of using             published        AWP in            establishing         EAC levels

for      the    upper     limit         that     is     at issue          here,       not    how much the             State

may have saved by not                     paying         for    certain            drugs.        The

Administrator             properly             observed        that       "[i]f       EAC had been set                at a

level      lower        than    AWP, the          average           reimbursement             would     have better
approximated             the    acquisition              cost       for    those       drugs      subject        to        it."
A.R.      9. 18



        is The intervenors'         argument that AWP is reduced by 9.36
percent     lacks merit because it is based on what the State claims
to have saved by not paying for certain                   drugs.       Intervenor's
Brief     at 21-22.      In essence, the intervenors'               argument is that
the State "pays" less than AWP for high-cost                      drugs because the
LMAC program largely           discourages     pharmacists        from dispensing
these drugs in the absence of physician                   certification.           They
appear to believe          that the State can apply these "savings"                    to
counterbalance       the payments made for drugs at AWP, and in this
way offset       the inflated       nature of the aggregate upper limit.                  But
here agaln, what the State claims to have saved by not ap__fin_ for
certain     drugs does not factor          into the upper limits             equation.
Moreover,      to determine       in any given case whether state drug
payments balance out under the aggregate upper limit,                           it is first
necessary      to determine       an upper limit      that is not artificially
inflated.        The State is establishing          the EAC for "other            drugs" at
AWP, which overstates           the prices paid by pharmacists                for these
drugs.      As the Administrator          observed,     "[t]he      use of AWP as the
EAC renders Louisiana's             plan less economical          than it would
otherwise     be."     A.R. 8.

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          The Secretary                also     properly         rejected            the    State's          plan     to

reduce      its        dispensing             fee to     account           for    the      use of AWP as the
EAC.       State's         Brief        at 22-23.           Se___ee
                                                                A.R.             1121-22.            The State's

proposal          is    entirely         inconsistent               with      the     regulations.                  Since

1975,      the     regulations            have always               segregated             ingredient          cost        from

all    other       costs        as a means of achieving                          "mandated           economies            in

drug      cost     reimbursement."                     39 Fed. Reg. 41,480,                    A.R.         1009.         They

have required              the        separate         determination              of ingredient               cost        based
on the      State's            "best     estimate"          of the          "price"         that      providers            are

paying      for        a drug.          42 C.F.R.          §447.301.              The State's               proposal           to
use the        dispensing              fee allowance             to account             for    discounts             in

"price"        does not          square         with     this       framework           of the        regulations.

The regulations                 require         that     the     provider's             "price"        be reflected

as closely             as feasible            in the      EAC.
          This     requirement            that         EAC represent              only      the      prices        paid        by

pharmacists             also     diposes          of the        State's          notion       that     it     can
provide          for    pharmacy         profit         through         the      EAC rather           than     through

its    dispensing              fee.      State's         Brief       at 26.           See A.R.         923. 19 The

regulations             have always            provided          that       profit         and all          cost

elements          other     than        product         cost     (such as operating                    costs,

overhead          costs,        and professional                 services)            be reimbursed                through

the    dispensing           fee.         Se___ee,
                                              _,                52 Fed. Reg. 28,651-52,                        A.R.


       19 The State's   argument that it does not include       a profit
factor    in its dispensing     fee is somewhat misleading.      The State
sets the dispensing       fee at the 60th percentile     of dispensing
cost, which means that efficient         providers  with costs below the
60th percentile      do receive    a bonus that is like profit.      Se__ee
                                                                         A.R.
923, 964-67.
                                                               38
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 1060-61;         42 C.F.R.                  §447.333              (1986).                The State                  appears              to believe

 that      all    this           changed with                    the        shift         to aggregate                       limits            under
 the    1987 revision                     of the            regulations.                        Se__ee
                                                                                                    A.R.               954-55,             1121.

However,          the         1987 final                  rule      did          not      alter           the        existing

requirement                 that        the        State         include               a separate                dispensing                    fee to

account          for        costs         other           than product                    cost;           it     just           eliminated

procedural              requirements                      governing               how states                    establish                their

dispensing              fees.             See 52 Fed. Reg. 28,651-52,                                            A.R.           1060-61;

National          Ass'n            of     Chain           Druq      Stores,                  [1989-2            Transfer               Binder]


Medicare          &    Medicaid                  Guide       (CCH)           _     37,871            at     20,101-02.                     States


must     still         base         their           EAC      on     their              best      estimate               of       the       "price"


generally             paid         by     pharmacies                for          drugs,          and       they         must           adhere          to

the     framework                established                 by     the          regulations.                   2°


         The      upper            limits           regulations                   must         be      applied             as       they         are

written.              While         the          State      does          not       directly               challenge                 the         EAC


standard,             its        arguments                that      the          LMAC         program            and       the       dispensing

fee     can      "modify"               an       inflated           EAC          are      inconsistent                     with          the


structure             of     the        upper        limit          regulations.                          The        wisdom          of     the        EAC


requirement                and      the          policy          concern            with         the       use        of      AWP        are      issues


that     were         aired         in       the     1975         rulemaking                   proceeding,                    when         the


Secretary             rejected               a    proposal             to        define         drug           cost        as     AWP.            40


Fed.     Reg.         34,518,            A.R.        1014.             The        Secretary                declined                 to     adopt



         20 Notwithstanding                          the         evidence               in     the        OIG        study          that
purchase      discounts        of AWP    are   available       to   all   pharmacies,       the
State    has     indicated       concern    with   the    fate    of   small    independent
pharmacies        if   it   is required      to move     away     from    AWP.     A.R.    1121.
See   OIG   Report,       A.R.    643.    While    the   State     has    shown     little
support      for    this    concern,     the   answer    would      lie   in   adjusting      the
dispensing        fee,    not    in using    an   inappropriate         EAC.

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that         option        in the              belief         that      the     EAC method would                        better

advance            the     statutory                 objectives               of economy and efficiency.                                    I_dd.

Because the                EAC mechanism was adopted,                                    the        State        must comply                with

its     methodology,                   even if            the        State      and intervenors                        would        have

preferred             some alternative                         methodology.                    Concerns           with        the        wisdom


of     the        Secretary's                  choices         for      implementing                 the        statute           are     "more


properly            addressed                  to    legislators               or    administrators,                      not       to


judges."              Chevron,                 467     U.S.      at     865.         Se__eeArkansas                Pharmacists


Ass'_____nn,
           627            F.2d        at       870-71         (finding          that         the     EAC        plus      dispensing

fee     method            meets        the          judicial           test     of      reasonableness).                     21




             E.       The   Secretary's                       Policy       Against      Use               Of  AWP       In
                      Determining       the                   Upper       Limit    Applies                 To  All
                      States.


          The       Secretary                  is    requiring           all        states          that        rely


significantly                    on    published               AWP      in     setting             EAC     to    support            its


position            or     adopt           a    more      accurate             method          of    estimating               drug


prices.             The     Administrator's                          decision           recognized               Louisiana's


concern            that      other             states         appeared          to      have        had     state         plans          using



        21 The    State     argues     that    the    Secretary's        upper     limit
regulations         are   arbitrary       and    capricious       because      the    federally
determined       upper     limit     for    listed     multiple-source           drugs     (which     is
not    involved      in this      case)     allows     states     to   pay    up   to  150    percent
of   "the    lowest     AWP"    for    equivalent        products.         State's     Brief     at
24-25.       The   State     contends       it is     inconsistent        to    interpret      the
"other     drugs"     upper      limit     (EAC)     to   preclude      setting      cost     at AWP
when    the   other     upper     limit      sets    cost    above    AWP.      Id.      This
argument      is misguided          for   several       reasons.       Most     important,         the
regulations        provide       that    the    federally       established         cost    limit      be
set    at the     lowest      "published        price."        42 C.F.R.      §447.332(b).             In
practice,       this    amount      is almost        always     the   lowest     direct
manufacturers'          price,      which     is usually        considerably         less     than
AWP.     Se___@ A.R.     1069,    1115.

                                                                         4O
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AWP approved             by other            HCFA regional                    offices.                  A.R.      9.     The
Administrator                responded,             however,             that         "the         correct         approach              to

this      apparent           inconsistency                 is to         initiate                 change to those                    other
State      plans        rather          than       to approve                another              plan     with        an improper

EAC."        I_dd. Since            the      policy            decision          was made to enforce                               the

regulation           on a state-by-state                          basis,         HCFA has been proceeding                                     to

review       state       plans          and question                states            that         rely     to a significant

extent       on AWP in establishing                              their        EAC.           See letter                from

Secretary,           A.R.         15.       As the Administrator                             stated         in his            decision,

in excess          of 30 states                have already                   established                  their        EAC below

the      published           AWP.        A.R.       7.         This      compares                 favorably            with        the
OIG's       finding          in    1984 that             virtually              all     states             were relying                  on

published          AWP primarily                   or to a great                 extent.                  A.R.     637.            As for
the      remaining           states         that        use AWP, the Administrator's                                     position

remains        "that         a plan         that        relies          to    any significant                      degree            on AWP

as its       EAC does not meet the                             statutory              requirements                 for        an

economical           and efficient                  plan."              A.R.     9.          If        deemed necessary                   by

this      Court,       the        Secretary             would      be        willing              to    supplement             the

record       to    reflect          actions             taken      to        assure          uniform            enforcement               of


the      Department's              policy          by    all      regional             offices.            22




        22 On a completely             separate       issue,     the    State    disputes       the
Administrator's           determination           that    the    language      in the      plan
amendment        could    be    interpreted        to preempt        HCFA's      obligation        to
determine        drug    availability         and    that,     therefore,        the    State     must
change     the     language.         State's      Brief     at   30-31;     A.R.     9.    As   the
Administrator          noted,      however,       the    State    earlier      expressed
willingness         to   change      the   language.         A.R.     9.    If the      State     does
not    intend     preemption,          it   is surely       not   too    much    to   ask    that    the
State     simply      clarify      the    language.

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                                                     CONCLUSION


          For     all    the    foregoing           reasons,          the     Administrator's


reconsideration                decision        disapproving                 Louisiana         State      Plan

Amendment          No.    87-33        must    be    upheld,          and     the    petitions           of     the

State       and    the     intervenors          to     set        aside      the    decision          must      be


denied.           Fed.    R.    App.      P.   15.


                                                        Respectfully                submitted,

                                                        JOHN    VOLZ
                                                        Un(_Ked    States            Attor_
                                                        E_st_r_D_st'_ILo_i_na




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                                                 CERTIFICATE               OF    SERVICE
                                                                                       L   _


          I    HEREBY            CERTIFY          that    I    have        this        _ _day                 of    January,


1990,         served         a    copy      of     Respondent's                 brief           by     first-class              mail,


postage         prepaid,             on     counsel           for     the       parties               cited      herein:

                       The       State      of     Louisiana,              Petitioner


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                   Louisiana                Pharmacists              Association,
                   National                Association              of  Chain     Drug                 Stores,          Inc.,
                   Intervenors


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